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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
                              --------
UNITED STATES OF AMERICA,

                      Plaintiff,

       v.

DONNA MARIE ROYAL,

                      Defendant.                            INDICTMENT
                                               /

       The Grand Jury charges:

                        (Interstate Communication with Threat to Injure)

       On or about September 22, 2021, in the Southern Division of the Western District of

Michigan, and elsewhere,

                                   DONNA MARIE ROYAL

knowingly and willfully transmitted in interstate commerce a verbal communication over the

telephone containing a threat to injure the person of another. Specifically, ROYAL placed a call

on a cellular telephone to the Kalamazoo, Michigan office of U.S. Congressman Fred Upton and

left a voicemail message that included the following threat: “I’m going to warn you one more

time to leave Enedine Vigil alone or you will be put away and murdered. . . . And leave her the

fuck alone or you will be shot in the fucking head.”

18 U.S.C. § 875(c)

                                                       A TRUE BILL


                                                       GRAND JURY FOREPERSON
ANDREW BYERLY BIRGE
United States Attorney

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CLAY M. WEST
Assistant United States Attorney
